Case 18-09108-RLM-11            Doc 684 Filed 07/25/19 EOD 07/25/19 14:54:51                       Pg 1 of 2
                               SO ORDERED: July 25, 2019.




                               ______________________________
                               Robyn L. Moberly
                               United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


    In re:                                                  Chapter 11
                           1
    USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                           Debtor.




             SECOND ORDER EXTENDING THE DEBTOR’S EXCLUSIVE PERIODS
              TO FILE AND TO SOLICIT ACCEPTANCES OF A CHAPTER 11 PLAN

             This matter came before the Court on the Debtor’s Second Motion For Order Extending

The Debtor’s Exclusive Periods To File And To Solicit Acceptances Of A Chapter 11 Plan (the

“Motion”), filed by USA Gymnastics as debtor and debtor in possession (the “Debtor”), for the


1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
Case 18-09108-RLM-11          Doc 684     Filed 07/25/19      EOD 07/25/19 14:54:51         Pg 2 of 2



entry of an order pursuant to section 1121 of title 11 of the United States Code, 11 U.S.C. §§ 101–

1532; and the Court finds that (i) it has jurisdiction over this matter pursuant to 28 U.S.C. § 1334;

(ii) this matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A); (iii) the relief requested

in the Motion is in the best interests of the Debtor, its estate, and creditors; and after due

deliberation, and good and sufficient cause appearing therefore, the Court hereby determines the

Motion should be GRANTED.

       IT IS HEREBY ORDERED:

       1.      The Motion is granted as set forth herein.

       2.      The Debtor’s exclusive period to file a chapter 11 plan is extended through and

including October 4, 2019.

       3.      The Debtor’s exclusive period to solicit acceptances of a chapter 11 plan is

extended through and including December 2, 2019.

       4.      Entry of this order is without prejudice to the Debtor’s right to seek further

extensions of the exclusive periods in which to file and to solicit acceptances of a plan for cause.

       5.      The terms and conditions of this order shall be immediately effective and

enforceable upon its entry.

       6.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this order.

                                                 ###




                                                  2
